284 F.3d 125
    PHARMACHEMIE B.V., Appellee,v.BARR LABORATORIES, INC., Appellant.Mylan Pharmaceuticals, Inc., Appellee,v.Barr Laboratories, Inc., Appellant.
    No. 00-5206.
    No. 00-5207.
    United States Court of Appeals, District of Columbia Circuit.
    March 20, 2002.
    
      Before: SENTELLE and ROGERS, Circuit Judges, and WILLIAMS, Senior Circuit Judge.
      Prior report: 276 F.3d 627.
      
        ORDER
      
      PER CURIAM.
    
    
      1
      For the reasons set forth in the court's opinion dated January 18, 2002, in the consolidated matter of Pharmachemie, B.V. v. Barr Laboratories, Inc., No. 00-5206, it is
    
    
      2
      ORDERED that appeal No. 00-5207, Mylan Pharmaceuticals, Inc. v. Barr Laboratories, Inc., be dismissed as moot, the judgment of the district court be vacated, and the case remanded to the district court with instructions to dismiss Mylan's complaint.
    
    